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   7
       Attorneys for Defendant,
   8   ANTHONY MARK BROWN
   9
  10
                            UNITED STATES DISTRICT COURT
  11
                          CENTRAL DISTRICT OF CALIFORNIA
  12
  13
       UNITED STATES OF AMERICA,          )            No. 21-CR-00447-VAP
  14                                      )
                       Plaintiff,         )            DEFENDANT ANTHONY
  15                                      )            BROWN’S SENTENCING
                 vs.                      )            MEMORANDUM AND
  16                                      )            OBJECTIONS TO PRESENTENCE
                                          )            REPORT
  17   ANTHONY MARK BROWN,                )
                                          )
  18                   Defendant.         )            Date: July 25, 2022
       __________________________________ )            Time: 9:00 a.m.
  19
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   1                                               I
   2                                     INTRODUCTION
   3          This case involves the classic example of a good person doing a bad thing.
   4          The defendant, at the time a Long Beach Police Department officer, accessed by
   5   cell phone the MeWe website and engaged in texting about, and viewing, sending and
   6   receiving “child pornography,” technically termed Child Sexual Abuse Material (CSAM).
   7   The matter was investigated by Long Beach Police Department Investigator Laurie
   8   Barajas. As best as can be determined from her reports, this conduct sporadically occurred
   9   over a period of about six months and involved a relatively small amount of CSAM when
  10   compared to all of the other images on the phone that were otherwise lawful. In fact, the
  11   Indictment cites only six images (five photographs and one extremely short video-clip).
  12   The Government has not provided in discovery any other images concluded to be CSAM.
  13          On May 15, 2020, Investigator Barajas, presumably because of the small amount
  14   of CSAM (and not aware at the time that he was a LBPD officer), contacted the defendant
  15   by telephone, informed him of her discovery of his conduct and “explained to him that
  16   the investigation would be closed, but if [she] received another complaint involving him,”
  17   the matter “would be presented for felony filing consideration.” The defendant stated he
  18   understood “and never denied or questioned why [she] was calling him.” The defendant
  19   then deleted all of the subject data on his phone and never engaged in such conduct again.
  20          On March 17, 2021, after discovering that the defendant was a police officer, a
  21   felony complaint was filed in the Los Angeles Superior Court alleging four counts of
  22   violation of Penal Code section 311.11(a) (possession of child pornography), an offense
  23   punishable by state prison (16 months, two or three years) or one year in county jail, or
  24   by fine of $2,500, or both the fine and imprisonment. Under Penal Code section 17(b),
  25   the offense is an alternative felony/misdemeanor (“wobbler”) and thus could result in a
  26   misdemeanor conviction, either at the time of sentencing or after the successful
  27   conclusion of probation.
  28          However, on September 27, 2021, the complaint was dismissed upon the District



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   1   Attorney’s request as the defendant had been indicted herein on September 21, 2021.
   2                                                II
   3                                   THE PLEA AGREEMENT
   4          Pursuant to the Amended Plea Agreement, on March 21, 2022 the defendant
   5   pleaded guilty to one count of Distribution of Child Pornography 18 U.S.C.
   6   §2252A(a)(2)(A). When sentenced, two counts of Distribution and one count of
   7   Possession of child pornography will be dismissed. The parties agreed that the Guideline
   8   Offense Level would be 27 with a range of 70 to 84 months incarceration, and that the
   9   Government would recommend the low end of 70 months. The defendant reserved the
  10   right to seek a variance/departure below the Guideline calculation.
  11          The offense carries a mandatory minimum sentence of 60 months. The Presentence
  12   Report recommends a variance and that the Court impose a 60 month sentence. For the
  13   many reasons stated below, the defendant agrees with the Probation Officer’s
  14   recommendation.
  15                                               III
  16               THE COURT SHOULD IMPOSE A 60 MONTH SENTENCE
  17          A number of factors and considerations warrant the mandatory minimum 60 month
  18   sentence.
  19          A. The Specific Offense Characteristic Unfairly Overstates the Defendant’s
  20               Conduct.
  21          The Guideline calculation included a two level increase because the offense
  22   involved 10 to 150 images [USSG §2G2.2(b)(7)(A)]. Under the Guidelines, a video-clip
  23   constitutes 75 images. One of the six involved CSAM is a video clip that is a just a
  24   fraction over a second in duration. But for this exceptionally short (if not fleeting) image,
  25   the Guideline calculation would be Level 25 with a range of 57 to 71 months. Given that
  26   flicker of a video-clip, it is not significantly distinguishable from the other still images,
  27   and thus the weight given to it unfairly overstates the offense conduct as being more
  28   extensive than it really was.



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   1          B. The Defendant Is Selectively Prosecuted Because of His Status as a Police
   2              Officer.
   3          The Defendant has never denied that he violated the law. However, it cannot be
   4   seriously denied that his conduct–the very small amount of CSAM–does not ordinarily
   5   result in a federal prosecution for distribution of child pornography.1 Counsel is unaware
   6   of any such prosecution based on such a small amount of CSAM. It can only be
   7   concluded that this matter got the attention of the United States Attorney solely because
   8   of the defendant’s status as a police officer. While it is true that society may justifiably
   9   hold peace officers to a higher standard than ordinary citizens, it is equally true that
  10   peace officers are human beings also subject to the very same human flaws causing bad
  11   decisions and conduct. Here, the defendant was initially prosecuted in state court for
  12   simple possession of child pornography, as is typical in such small cases, and without
  13   doubt would have received a probationary sentence that ultimately would have allowed
  14   the conviction to become a misdemeanor under state law and practice. To be clear, this
  15   is said not to minimize the turpitude of the defendant’s conduct, but rather to contend that
  16   a five year sentence, compared to a state court prosecution, is highly disparate.
  17          C. The Defendant Is Not A Pedophile and Is Not A Risk to Re-offend.
  18          Submitted herewith is a recent and thorough psychological evaluation prepared by
  19   Dr. Richard Romanoff, who is a preeminent court-qualified evaluator, having been
  20   retained by both defendants and government attorneys (state and federal) in a myriad of
  21   cases over the past 35 years. (See Exhibit A). At first, it is hard to take exception with
  22   the Government’s recommendation for a low-end guideline sentence, e.g. 71 months,
  23   because the defendant was a veteran police officer and “should have known better.” But
  24   ironically, as stated in Dr. Romanoff’s report, the opposite is more accurate:
  25      · “Some answers reflected ongoing internal confusion over why he behaved as he
            did in this case. I did not get a sense he was consciously withholding information
  26        in an effort to avoid criminal responsibility. Rather, on these occasions, despite
            this confusion, he consistently acknowledged his involvement in his offense
  27
  28          1
               Counsel unsuccessfully asked the AUSA to learn the criteria used by the
       United States Attorney in deciding whether to indict for distribution of child
       pornography.

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   1           related behavior, expressed deep feelings of shame and remorse for this behavior,
               and concurrent feelings of anger and deep disappointment in himself.” (p. 4);
   2
            ! “He described how during this time he was becoming increasingly disenchanted
   3          with work, especially since George Floyd, explaining, “I didn’t want to talk to
              people [referring to the general public], there was a lot of hatred being directed to
   4          me.” He then explained, “I started [to work as a police officer] at 19, I was one
              year out of high school, and I took an oath to help people, but that was becoming
   5          impossible, so I was just wanting to call it quits.” ” (p. 5);
   6
            ! “Again, pressed about why he thinks he crossed the line into viewing and
   7          forwarding child pornographic images he said, “I’m a very low-key personality,
              I’m not a Type A, I’m a Type C, and I joined [the police force] way too young,
   8          and I saw a lot of stuff, dead bodies, I was seeing that for nine years.” He then
              explained the primary reason he asked to be transferred to the airport flowed
   9          from his growing need to extricate himself from involvement in cases that
              exposed him to these types of images. Describing his reaction to those
  10          experiences at the time he said, “I shouldn’t have seen that kind of stuff, and it
              ruined a lot of relationships, because I couldn’t care about people, even with my
  11
  12           wife.” He then described a pattern of change in him, that came to include a
               shift from him being an unusually “empathic” person, who genuinely enjoyed
  13           engaging with and helping others, to him becoming closed off from feelings in
               a way that left him feeling increasingly alienated, and “hating myself.” ” (p.
  14           8);
  15        ! “Asked why he never went to see a therapist to discuss what even he obviously
               saw as evidence of a post traumatic reaction he said, “That’s my fault,” adding,
  16          “I probably should have gone to see someone,” and, “The department had a
              psychologist, but no one went, everyone felt they’d go to management, and then
  17          you’d be taken off patrol, and put at the front desk, and then everyone would
              know you’re having problems.” ”(p. 12);
  18
         ! “Mr. Doma [the defendant’s LBPD partner] began to provide information
  19       indicating significant sources of stress and distress Mr. Brown has been feeling for
           many years. For example, asked by me if he felt hated by members of the public,
  20       without pausing he immediately said, “We all feel that, and we talked about that
           all the time, how the community has changed, how we’re just trying to do the right
  21       thing, but there’s this lack of appreciation, we both felt the same way.” He then
           said, “I think Tony felt beaten up, exhausted,” as he then added, “that he didn’t
  22       show it much, but we talked about it, that the whole world was changing.” ”(p.
           17);
  23
         ! “Mr. Brown obtained a Static 99R score of 0 (-1 for young; 0 for single; 0 for
  24       index nonsexual violence; 0 for prior nonsexual violence; 0 for prior sex offenses;
           0 for prior sentencing dates; 1 for any convictions for noncontact sex offenses; 0
  25       for any unrelated victims; 0 for any stranger victims; and 0 for any male victims).
           There is a ninety-five percent chance that his actual recidivism risk level is
  26       between 2.2% and 3.5 percent over a five-year period of time. This score would
           place him in the lowest risk category for committing a future sexual
  27       offense as computed by the Static-99R.” (p. 19);
  28    !      “There is evidence to indicate that over the course of the 36 years he spent working



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   1         as a reserve police officer, [nine years] and a full-time police officer [27 years] he
             experienced a variety of traumatic experiences and was also subjected to an
   2         additional collection of work related stressors that began to eat away at his
             previously higher level of psychological resilience, leaving him in an increasingly
   3         exhausted and psychologically depleted state. In this state, that developed even
             before his involvement in any of the events associated with this case, he was
   4         experiencing active symptoms of a posttraumatic stress disorder, as well as
             additional symptoms of anxiety, loneliness, and growing alienation. This
   5         combination of mental health difficulties produced growing levels of emotional
             numbness, and deteriorating levels of self-esteem.” (p. 20);
   6
         !   “I believe there is also significant evidence indicating Mr. Brown was never
   7         psychologically well suited to become a police officer. He appears to have grown
             up as a particularly sensitive and empathic individual, with a high need to help
   8         others, but also with more limited abilities to establish effective boundaries to
             protect himself from the intense pain and suffering he began to encounter in an
   9         increasingly regular manner.” (p. 21);
  10     !   “Increasingly debilitated by his above noted mental health difficulties, and by his
             growing alienation that began to include growing feelings of inadequacy, and
  11         growing levels of irritability and bottled up anger, I believe he began to
             develop a growing reliance on Internet based pornography to experience a kind of
  12         escapist pleasure of the moment, so he could at least briefly forget about the
             kinds of thoughts and feelings that were increasingly eating away at him.”
  13         (p. 21);
  14    !    “Given the totality of the evidence summarized above, I do not believe Mr. Brown
             suffers from any disorder of sexual deviancy, including pedophilia. (p. 22); and
  15         I believe the above summarized findings and conclusions represent
             very significant mitigating factors to be considered when pursuing efforts to arrive
  16         at a just sentence in this case. I am aware of the five year mandatory minimum
             associated with his current charge. I am also aware of the possibility that but for
  17         his being a police officer, the original opportunity he was given to break off any
             additional involvement with downloading [or uploading] child pornographic
  18         images might well have served as a sufficient warning to achieve that goal, in a
             manner that would have precluded his involvement in this case, but for his being
  19         a police officer. Given the distinct possibility that it was precisely this involvement
             - and the psychological harm it caused to him - that served as a major [and perhaps
  20         sole] factor in fueling this behavior, any further punishment would in effect
             represent an additional punishment for behavior fueled by harm incurred from an
  21         original effort to help others by becoming a police officer.” (p. 22).
  22         In short, because the defendant was a police officer who suffered from intense
  23   PTSD and was subjected to great public animus during the pandemic due to the
  24   international focus on police officer misconduct and racial injustice, the defendant – a
  25   good-hearted, kind, good-guy officer – plunged into a deep depression (like millions of
  26   others who slide into depression and boredom). According to Dr. Romanoff, he felt
  27   “dead” inside and turned to “porn” and “taboo porn, including CP” to try and feel
  28   something inside himself. As Dr. Romanoff indicates, this explanation is not an excuse,



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   1          but a reason for how a law-abiding person can so err in judgment by dabbling in
   2   CP. This out-of-character misjudgment will truly haunt him for the remainder of his
   3   years. And unfortunately, Mr. Brown will now have to pay a steep price for such
   4   judgment errors.
   5
              D. The Defendant Is a Man of Good Character and Has Lived a Life of Good
   6
                  Conduct.
   7
              The defendant will soon be 58 years old. Before resigning from LBPD, he was a
   8
       police officer for almost 27 years. During that time, he had no disciplinary conduct and
   9
       faithfully served and protected his community. He had never been arrested prior to the
  10
       instant matter.2 As stated in his letter to the Court, the defendant immediately and fully
  11
       accepted responsibility for his bad conduct, thereby conserving prosecutorial and judicial
  12
       resources. He recognizes the harm it has done to his wife and family. He is humiliated,
  13
       but he has the intelligence and insight to understand what caused the offensive conduct
  14
       and the strength of character to prevent it from ever being repeated. (See Exhibit B).
  15
  16          Many good character reference letters are attached stating that he is and has been
  17   a kind, caring and helpful person. (See Exhibit B). Other than this isolated matter, there
  18   is really nothing bad to say about the defendant.
  19
              E. Service of a Prison Sentence Will Be Very Difficult and Stressful For
  20
                  The Defendant Because He Was a Police Officer and Because of the
  21
                  Type of Offense He Committed.
  22
              As explained in the attached Declaration of Jack Donson (See Exhibit C), a former
  23
       BOP counselor and prison expert concerning the environment in prison and serving time
  24
  25
  26          2
                 Although the PSR states that the defendant has no prior convictions (PSR, p.
       9 ¶ 41), nonetheless it states that he has “only one prior law enforcement
  27   contact/conviction in 2011.” PSR, p. 18, ¶ 96. The latter is untrue, as was explained to
       the Probation Officer: Despite the defendant’s previous efforts to have it removed, the
  28   DUI arrest some years ago of another person with the same common name, and who is
       of a different race, persists in being connected by the computers to the defendant’s
       record.

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   1   in one, life for a prisoner who was a police officer will be exceedingly difficult because
   2   of being targeted by other inmates who do not like cops. This is common knowledge. The
   3   defendant will be in general population and will not be segregated into a “prison wing for
   4   cops.” Compounding this is that the defendant is a sex offender, which, within the
   5   malleable and unique standards of morality in prison culture, marks the defendant for
   6   harassment, or even physical attack, by other prisoners. To endure this stress for five
   7   years is certainly punishing; adding an additional 10 months is unwarranted.
   8
              F. The Defendant’s Age and Health Problems Will Also Affect His
   9
                  Incarceration.
  10
              The defendant’s 58 years and declining health are other valid considerations. As
  11
       more detailed in the PSR (P. 11, ¶ 58), he has chronic skin pre-cancers requiring regular
  12
       dermatological removal, two knee surgeries due to injuries suffered while on duty as a
  13
       police officer, difficulty in walking without orthotics because of bone spurs in his heels,
  14
       and takes medications for diabetes, hypertension, high cholesterol and heartburn, along
  15
       with vitamins and minerals due to iron and vitamin deficiencies.
  16
  17          G. The Recommended Fine of $25,000 is Excessive and Unjustified.
  18
              The PSR recommends assessment and immediate payment of a $25,000 fine. This
  19
       is excessive and unjustified. The PSR indicates, but fails to fully consider, that while the
  20
       defendant is incarcerated he will unable to contribute to the community expenses. Thus,
  21
       his hope and intent is to leave his wife as much money as possible to cover basic expenses
  22
       (home mortgage, car payment, utilities, et al.). His retirement is in jeopardy of being
  23
       reduced by CALPERS because of the conviction. His wife’s monthly unemployment
  24
       benefit of $1,620 is not life long and it will terminate in August, 2022. Consequently, the
  25
       PSR calculation of $7,685 monthly income must be reduced accordingly. The family
  26
       residence is in a rural part of Kentucky, where the nearest town is Owensboro, 25 miles
  27
       away with a population of only about 65,000. Her employment opportunities are therefore
  28
       quite constrained by her lack of a skill, profession or trade, the limited number of


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    1   available jobs in a small town, as well as the minimal salary of any job she might obtain.
    2   Consequently, the small nest egg the defendant seeks to leave her hoping that she will be
    3   able to hang on while he is gone should not be severely diminished simply because at the
    4   moment he has the cash on hand to pay the recommenced fine of $25,000. Such a fine
    5   seems onerous given that the defendant will be also imprisoned for a lengthy time. The
    6   combination just seems to be piling on.
    7
               Indeed, the defendant’s Financial Condition stated in the PSR (p. 14, ¶ 73)
    8
        calculates the net worth of the defendant and his wife to be over $259,000, but $172,000
    9
        of which is the equity in their home. This equity is not liquid, and is only accessible if the
   10
        home were refinanced, which would be highly unlikely given his felony conviction and
   11
        their insufficient current assets to qualify for a new loan, let alone the ever increasing
   12
        mortgage rates in our inflationary times resulting an even larger monthly mortgage. In
   13
        actuality, the defendant is “house poor” and he and his wife face a daunting struggle to
   14
        hold on while he is away for many years. A $25,000 fine will cause an extreme hardship
   15
        on them over and beyond what they already face.
   16
               H. The Recommended Life Time Supervised Release is Unnecessary and
   17
                   Unjustified.
   18
   19          The defendant will be about 63 years old when placed on supervised released. As
   20   previously detailed, there is little to nothing about the defendant or his conduct that
   21   reasonably indicates he will be a recidivist or a risk to the community. Just the opposite
   22   is true. He has immediately and completely accepted responsibility for his conduct. He
   23   has an ever increasing knowledge and understanding of what caused it, and the
   24   determination and ability to assure the Court that it will never happen again. Because the
   25   defendant will be required to register as a sex offender for the rest of his life, lifetime
   26   supervised release is almost duplicative and unnecessary. In a word, the defendant’s
   27   conduct was truly aberrational. It will never be repeated and thus there is no need for
   28   lifetime supervised release.



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    1                                                IV
    2
                                      PRISON DESIGNATION
    3
               Based on the Declaration of Jack Donson, many good reasons exist for the Court
    4
        to make a recommendation to the Bureaus of Prisons that the defendant be designated to
    5
        FCI Englewood in Colorado, which if not available, then to FCI Petersburg in Virginia.
    6
        If the Court is amenable to such recommendations, then the defendant requests that the
    7
        commitment order state:
    8
    9                 “The court recommends the designation to any appropriate federal prison
                      camp and apply the “Lesser Security” management variable based on his
   10                 former capacity as a law enforcement officer and lack of a criminal history
                      or institutional experience. If the BOP does not comply with camp
   11                 placement, FCI Englewood, Colorado or alternately FCI Petersburg,
                      Virginia. if Englewood is unavailable. If the BOP is unable to comply with
   12                 this recommendation, the court requests a letter explaining the reason for
                      the non-compliance.”
   13
   14                                                V

   15                                       CONCLUSION
   16
               Had this case remained in Superior Court rather than being handed-off to federal
   17
        prosecutors, the defendant surely would have received a probationary sentence with
   18
        appropriate counseling, sex offender classes, sex offender registration and community
   19
        service. Instead, he now faces a five year mandatory minimum sentence. Accordingly,
   20
        it is respectfully requested that the Court accept the Probation Officer’s recommendation
   21
        of 60 months incarceration consistent with Section 3553 requirements that the Court
   22
        “impose a sentence sufficient, but not greater than necessary,” and assess a minimal fine,
   23
        if any, and five years supervised release.
   24
   25          Dated: July 4, 2022                        Respectfully submitted,
                                                          /s/Howard R. Price
   26
                                                          /s/Dana M. Cole
   27
                                                          Attorneys for Defendant Brown
   28



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                                                                                  April 28, 2022



Mr. Howard R. Price, Esq.
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Mr. Dana Cole, Esq.
1925 Century Park East, Suite 2000
Los Angeles, CA 90067

RE:           Anthony Mark Brown
Case No.:     2:21-CR-00447-FMO

Dear Mr. Price and Mr. Cole:

At your request I evaluated Mr. Anthony Brown at my above noted office on October 8, 2021
and via a Zoom teleconference on October 13, 2021; October 19, 2021; October 26, 2021;
November 29, 2021; and January 31, 2022. The purpose of this evaluation is to provide
information about Mr. Brown’s current and overall psychological functioning, with a particular
focus on whether he suffers from a disorder of sexual deviancy or some other disorder that might
predispose him to commit criminal sexual offenses. I was also asked to opine on his risk for
sexual offense recidivism and current treatment needs.

As a licensed psychologist, I have conducted more than 2800 forensic psychological evaluations
over the past 35 years. I have conducted these evaluations in state and federal courts, and have
been retained by defense attorneys and prosecutors, and appointed by judges. My evaluations
regularly focus on efforts to assess competency, reconstruct mental states at the time of an
offense, assess dangerousness, or recommend appropriate treatment plans for those deemed
suitable for probation. I have been a member of the Los Angeles County Superior Court Panel of
Psychologists and Psychiatrists for more than 30 years. During that time I have conducted more
than 500 evaluations of alleged and actual sex offenders pursuant to California Penal Code
288.1. From 1997 through 2013 I was also a member of the California State Panel of
Psychologists and Psychiatrists contracted to conduct evaluations of potential Sexually Violent
Predators, pursuant to California Welfare and Institutions Code 6600 et. seq. I have conducted in
excess of 350 evaluations of known sex offenders as a member of this panel. I remain up-to-date
with ongoing research in the area of sexual offense recidivism and assessment of dangerousness
in connection with my evaluations of sex offenders.
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Anthony Mark Brown                                                                   April 28, 2022
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In addition to the patient interview, the following information was also considered as part of this
evaluation:

1)     Long Beach Police Department Arrest Report for Case No. 21-4691, initially dated
       January 29, 2021 (including supplementary reports).
2)     United States District Court, Central District of California, Grand Jury Indictment, for
       Case No. 2:21-cr-00447-FMO, filed on September 21, 2021.
3)     Pretrial Services Report, Central District of California, for Case No. 2:21-cr-00447-FMO,
       dated September 29, 2021.
4)     Telephone interview with Ms. Kristin Brown, Mr. Brown’s wife, conducted by Dr.
       Romanoff on December 20, 2021.
5)     Zoom teleconference interview with Ms. Connie Pico, Mr. Brown’s sister, conducted by
       Dr. Romanoff on December 13, 2021.
6)     Telephone interview with Mr. Jonathan Doma, Mr. Brown’s partner and friend,
       conducted by Dr. Romanoff on December 21, 2021.
7)     Static-99R scored by Dr. Romanoff for Mr. Anthony Brown on February 10, 2022.
8)     CPORT scored by Dr. Romanoff for Mr. Anthony Brown on February 10, 2022.

Pertinent History

Records indicate Mr. Brown’s current federal case began with an investigation by the Computer
Crimes Detail of the Long Beach Police Department, following their receipt of a Cyber Tip
involving the uploading of three files containing Child Sexual Abuse Material. Tracing the
source of the IP address used in connection with this activity led investigators to Mr. Brown, and
to the eventual discovery of his use of a cell phone-based application, “MeWe,” that was used to
upload a total of eight images and one video of known Child Sexual Abuse Material [out of a
total of “over 1,800 photographs” contained in his MeWe folders. The minors depicted in these
images ranged from approximately “7 to 10” to “15 to 17" years of age. While most of these
images depicted lone nude minor females, at times in a sexually provocative pose, two depicted
prepubescent girls engaged in sexual activity with an adult male. One involved a “7 - 9" year old
female with “her hand wrapped around the penis of what appears to be an adult male,” and the
other involved a “7 to 10" year old female “performing oral copulation on an adult male.”

The above noted MeWe folders also contained multiple chat conversations held between Mr.
Brown and other individuals using this application, that included several “graphic” sexual chats
where Mr. Brown presented himself as “a thirty-eight-year-old female” [using the name of his
wife], with a nineteen-year-old daughter, a thirteen-year-old daughter and an eight-year-old
niece living with them. While these chat conversations include information from Mr. Brown’s
actual real world family, subsequent investigation efforts discovered considerable evidence of
fabrication for essential elements of the life story he was telling, in a manner that makes clear the
sexual activity he was describing in these chats were in fact fabricated. That said, the content of
at least two scenarios summarized in the Long Beach Police Department arrest materials
describe scenarios that I would characterize as stories involving imagined child sexual abuse.
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On May 27, 2020 Mr. Brown was contacted by one of the investigating officers, and was
informed of the discovery of his involvement in the above noted activities. This officer “went on
to explain to Anthony that this investigation would be closed, but if I received another complaint
involving him, both cases would be presented for felony filing consideration.” After hanging up,
this officer realized he had failed to ask Mr. Brown for his date of birth, and upon using other
Internet resources to search for this information, discovered Mr. Brown was an officer with the
Long Beach Police Department.

This apparently led to the reactivation of the investigation, without any additional evidence of
subsequent inappropriate behavior by Mr. Brown, and to his arrest on February 11, 2021 on State
charges involving violation of California Penal Code 311.11 (A), possession of images depicting
persons under the age of 18 engaged in or simulating sexual conduct.

Importantly, police spoke with Mr. Brown’s wife, and with her then nineteen-year-old daughter
[Mr. Brown’s step-daughter], who were both referenced by name in the above noted sexual chats
that depicted child sexual abuse. Both reported no involvement in or knowledge of any such
activities with Mr. Brown, and both expressed their strong belief that it would be extremely out
of character for the person they knew to ever engage in this type of behavior toward any minor.
In particular, Mr. Brown’s step-daughter indicated she has known Mr. Brown since she was
eight, and while noting some history of conflict between them, indicated this conflict had
nothing to do with inappropriate sexual activity, and they have since resolved their difficulties
and were getting along well throughout the period of time associated with Mr. Brown’s
involvement in the events described above. Police also confiscated all of the digital devices
owned and operated by Ms. Brown, and after searching these devices found no evidence of any
inappropriate sexual material of any kind on them.

I also reviewed the United States District Court, Central District of California, June 2021 Grand
Jury Indictment of Mr. Brown, filed on September 21, 2021. In this Indictment Mr. Brown is
charged with three counts of 18 U.S.C. §§ 2252A (a) (2) (A), (b) (1), knowingly distributing
child pornography and one count of 18 U.S.C. §§ 2252A (a) (5) (B), (b) (2), knowingly
possessing at least one image of child pornography. These charges stem from the circumstances
already summarized above. It is also important to note that the Pretrial Services Report for this
case, dated September 29, 2021, indicates a 1996 arrest for Mr. Brown for driving under the
influence of alcohol and for failure to appear, with a disposition indicating he was convicted of
one misdemeanor count of driving under the influence of alcohol. During the current evaluation
Mr. Brown indicated this listing is in error, and that he has established through available records
that he is not the individual referenced in that arrest, who was a different Anthony Brown.
Records indicate no other arrest history for him. I received no records documenting any history
of substance abuse or mental health difficulties or treatment.

Interview Information Obtained from Anthony Brown

Mr. Brown is a fifty-seven-year-old man who was interviewed by me on six separate occasions
for a total of approximately eleven hours. He was neatly and casually dressed, well groomed, and
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made consistently good eye contact. He spoke in a clear and easy to understand fashion,
reporting no history of hallucinatory experiences. I saw no evidence of any paranoid or
delusional thinking. Answers to questions were consistently detailed, logical, and goal directed,
reflecting an openness and curiosity about himself. Some answers reflected ongoing internal
confusion over why he behaved as he did in this case. I did not get a sense he was consciously
withholding information in an effort to avoid criminal responsibility. Rather, on these occasions,
despite this confusion, he consistently acknowledged his involvement in his offense related
behavior, expressed deep feelings of shame and remorse for this behavior, and concurrent
feelings of anger and deep disappointment in himself.

Emotionally, Mr. Brown mostly came across as outgoing and socially engaging. He seemed to
enjoy the process of reviewing his life history, though he also came across as someone who
rarely engages in this type of effort. In a manner common for police officers, he often displayed
an active avoidance of delving into feelings, especially his own. It was only when repeatedly
pressed to share particular feelings that evidence of significant bottled up emotion, including
avoided past trauma, began to emerge [that will be described in greater detail below].
Overwhelmingly these bottled up feelings were directly related to his work as a police officer.
Interestingly, as is commonly seen when exploring battlefield related trauma in military
personnel, he seemed to experience some sense of violating a kind of taboo by discussing this
material outside the closed group of fellow police officers; as he simultaneously made clear that
these feelings are also actively avoided when with fellow officers, for fear it violates a different
taboo of showing any type of personal weakness. As Mr. Brown became increasingly able to
share the collection of bottled up thoughts and feelings he overwhelmingly keeps hidden,
evidence of more negative feelings also began to emerge, including feelings of heightened
anxiety and depression, that had previously gone almost completely ignored. Mr. Brown
reported no active suicidal ideation or intent. No formal cognitive testing was administered as
part of the current evaluation, though his memory for recent and remote events and overall
cognitive functioning appeared to be intact and at about average levels.

I began the evaluation by asking Mr. Brown some questions about his current life. At the start of
our meetings, Mr. Brown was living in Lakewood, California, with his wife and other members
of her family, at the home of his mother-in-law. By the end of our meetings he was living in
Island, Kentucky, a more rural area about two hours from Nashville. Currently retired [as of
February 11, 2021], as noted above, he was at the time of his arrest in this case working as a full-
time police officer for the City of Long Beach, first as a reserve officer for about nine years, and
then as a full-time officer for the next 27 years. Most recently, for the past 18 years, he was
assigned to a position at the Long Beach Airport.

Mr. Brown reported receiving a series of death threats immediately following his arrest in this
case after his home address was reported in the press. He said it was for this reason they left this
residence and began living with his mother-in-law. Prior to the move to Kentucky, he reported
becoming “a couch potato,” spending as much as 30 hours a day watching TV, “to keep my
mind off the case.” He then enumerated multiple sources of ongoing stress, that soon left me
with the clear impression of an individual overwhelmed by continuous stress, that becomes
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attached to whatever thought process is active in him at the moment. Mostly, this stress was
focused on the negative impacts his activities have had on his immediate family, and on the
physical safety of his family and himself.

Characterizing his overall life situation prior to his arrest in February 2021, he reported a
lifestyle overwhelmingly focused on work, estimating he was typically spending 70 to 75 hours a
week working, “including overtime.” He described how during this time he was becoming
increasingly disenchanted with work, “especially since George Floyd,” explaining, “I didn’t
want to talk to people [referring to the general public], there was a lot of hatred being directed to
me.” He then explained, “I started [to work as a police officer] at 19, I was one year out of high
school, and I took an oath to help people, but that was becoming impossible, so I was just
wanting to call it quits.” Other than work, he reported spending some time watching TV at home
with his wife and “walking my dog.” Discussing the year or two of time preceding his arrest he
said the only other socializing he pursued was with “my buddies from work,” explaining that by
that time he had become almost completely unable to socialize with anyone else.

Reflecting a persistent tendency to assume others view him negatively, that seems to flow from
long-standing feelings of low self-esteem, that have now grown to levels reflecting a degree of
self-loathing; when asked to characterize his relationship with his wife he began to review a list
of concerns he has, involving the negative impact his actions have had on her, that leave him
feeling she is angry and deeply unhappy with him. [I spoke with Ms. Brown as part of the
current evaluation, and saw no evidence of such feelings in her towards him. Information
obtained from her will be summarized below.]

Discussing his current physical health, he reported undergoing gastric sleeve surgery in 2014, to
aid in his efforts to lose weight noting, “I’ve always been a stress eater,” as he then added, “I
have Type II diabetes.” He said he has now lost about 60 pounds [he is currently 200 pounds and
5'6" tall]. He is taking medication for high blood pressure and high cholesterol and reported a
history of additional surgeries following a diagnosis of skin cancer in 2016. He reported being
on a 60 percent work related disability, after a ruling that his above noted skin cancer; and
additional orthopedic problems, including two knee surgeries, treatment for bone spurs, and
treatment for a torn meniscus were work related. He also reported receiving a diagnosis of Sleep
Apnea about two years ago, though he said he has difficulty using his CPAP machine and, “I
wake up a lot, and then my brain turns on, and I can’t fall back to sleep.” Asked about a
prominent facial scar he said it is from a “police car accident in 1991, my partner was driving,
and I was a passenger, and we were going through an intersection, and we were hit by a 4 x 4,
our lights and siren were on, we were heading to a call to assist, but we didn’t see him and he
didn’t see us.” He said while working his diet mostly consisted of “fast food,” and still includes,
“a lot of cake and cookies and sweets.” he reported no difficulties with alcohol use at any time in
his life, and reported no illicit drug use, including no marijuana use since his teenage years.

Shifting to a discussion of his mental health he initially indicated he is “fine.” It was not until I
began to press him to elaborate on prior statements he made as he was describing his current life
difficulties, referencing ongoing “stress,” that he acknowledged long-standing difficulties with
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“anxiety and fear,” adding, “at times I have nightmares, I’ve seen a lot of dead people, murders
and suicides,” quickly adding, “it’s probably all balled up inside there [pointing with his finger
to his head].” He then reported the development of some feelings of anger explaining,
“sometimes I’ll yell at my wife,” adding, “I guess it comes out at the wrong person.” Crying for
the first time in our session he then explained, “I think my feelings are all balled up inside.” He
then recalled crying after his father died in October 1985, but then being unable to cry following
the death of his mother in December 2003. He then discussed the growing hostility he felt as a
police officer, and his growing isolation from the general public that left him only feeling
comfortable to talk to “fellow officers.” At one point, after I characterize his job as nearly, if not
completely impossible, he looked directly at me, and instantly becoming tearful said, “It was my
whole life, law enforcement was my whole life, I worked as a reserve officer, I wasn’t even
paid,” and then, “And I was forced to leave, so everything has been taken away from me.”

Returned by me to a discussion of his current mental health he also reported having feelings of
“extreme shame,” explaining, “I don’t even go into the credit union anymore, unless there is no
other officer there,” adding, “It’s hard to hold my head up high.” He also reported ongoing
feelings of fear, because of the publicity his case received, and because of specific threats he
received that leave him with an almost constant worry that “Kristin will get hurt, and it’s my job
as her husband to protect her, so now I feel it’s better that we don’t go out of the house [he made
this statement before their move to Kentucky]. Importantly, Mr. Brown reported no suicidal
ideation stating, “If I committed suicide, I’d only be hurting people I loved.”

We then shifted to a discussion of the events associated with the current case. Beginning to cry
he then explained, “I began using steroids around four years ago, I was feeling I wanted to be
stronger, and look better,” adding that he began feeling this way while working out at the gym
with fellow officers who were “bigger and stronger.” Describing this decision as “stupid,” he
then continued, “so I began using illegal anabolic steroids, I knew very little about them, I’d
never used them before.” He recalled taking these steroids and, “within about six weeks, I began
feeling hypersexual and emotional, I was wanting to have sex, and I began thinking my wife was
cheating on me, even though she wasn’t, it was making me paranoid,” as he then said, “and I
began watching a lot of porn online.”

After completing a 12 week cycle on these drugs, he said, “I became impotent, I couldn’t
maintain an erection, it does that,” explaining this further elevated his anxiety at the time.
Finally, he said he briefly resumed his use of steroids after going off them for about five weeks,
and, “after a few more weeks, I stopped, and I threw everything away, but I still felt very sexual,
and I was still viewing porn online.”

Mr. Brown then explained, “In around 2019, I began using this website, “MeWe.” He described
how this website had “chat rooms for different categories,” including for pornography. Initially,
he described using these chat rooms to obtain adult pornography,” and after a brief pause, “and
then child porn,” coming across in our session as ashamed as he reported this development.
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Asked by me to elaborate on his shift to viewing child pornography he described how some of
the individuals in his chat room shared some of these types of images and, “I started looking at
them, and then handing them off to the next guy.” He then described involvement in
“conversations” that came to include “talking sex,” adding that initially these conversations
focused on adult sexual fantasies, but then later on came to include “child stuff.” He estimated
involvement in these activities [referring to his viewing of child pornography and talking about
child pornographic fantasies] for about a year, “and then I got arrested.” Finally, he clarified,
“Actually what happened was Long Beach police called me, and they said don’t do it no more,
and if I did, they’d prosecute me, but they didn’t know I was a police officer,” as he then
continued to detail the subsequent events that eventually led to his arrest in February 2021
[consistent with the information contained in the arrest materials reviewed by me as summarized
above]. He then closed by saying, “I think they decided to prosecute me because I was a police
officer, and not a normal citizen.”

Responding to some additional questions from me he said he first began viewing adult
pornography as a teenager, acknowledging that he engaged in this activity for purposes of
masturbation. He said his wife was aware of his periodic involvement in this activity and, “I
think she didn’t like it,” and so he tried to pursue these activities on occasions when she was not
around. Importantly, when specifically asked, he said that even before his use of the above noted
steroids he was increasing his involvement in viewing adult oriented pornography, and
increasing his involvement in masturbation.

Prior to his use of MeWe, he said he viewed “mainstream porn,” obtained through free websites
that included “pictures and videos.” He reported viewing “heterosexual stuff, with some lesbian
stuff too” for purposes of sexual arousal, reporting no sexual attraction to images involving force
and no interest in viewing images or videos containing child pornography. Returning to a
discussion of his involvement in chat rooms through MeWe, he described how “a long time ago,
I did that with AOL, in the 1990s, for around two years,” adding, “at times this included role-
playing of sexual fantasies,” as he then added, “that was before I was married.” Pressed on why
he thought he resumed this activity in 2019 he first said, “I have no idea,” and then, “I guess I
was horny.” He then acknowledged using the names of his wife and her daughter, and including
some actual details about them in his chats, as he also reported fabricating most of the details
discussed by him. Discussing his use of some pictures of his stepdaughter, he said all of those
images were of her clothed, with one image of her in a bikini, stating this action was “terrible
and disgusting,” “total idiocy,” and “stupid, I have no excuse, I should have known better, but
still I did it.” At one point he described this activity as “self-destructive,” adding, “I knew it at
the time, but I still did it.” He also described himself at one point as, “feeling like an entertainer,
just telling these stupid stories.” He said he was also aware that it was more serious to send child
pornographic images than to receive them stating, “I have good morals, I had a really good
upbringing, it’s just that I threw them out the window.”

Pressed again on why he thinks he might have behaved in a manner that was ultimately so self-
destructive, he again expressed a deep sense of confusion about this question before saying, “I
mean I don’t want to go to prison, or lose Kristin, and I didn’t want to hurt her, and I did hurt her
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really bad, and that destroys me inside.” He then said, “I think it has something to do with me
becoming a more angry person [at the time].” Again pressed on his involvement in these
activities despite him being a police officer he said, “I knew it was a violation of my oath, that’s
why I beat myself up every day, I knew everything about it was wrong, grotesque.” Returning to
his earlier statement he then said, “I think I’ve been disconnected from my feelings, I was
harboring a lot of anger, and I knew what I was doing was wrong, but I was just becoming an
extremely uncaring person.”

Describing the pornography he was viewing at that time, both via the MeWe portal and other
websites he was still using to viewing adult mainstream pornography, he estimated the adult
images and videos constituted at least 90 percent of the total images and videos viewed by him.
He also reported most of the child pornographic images viewed by him were of post-pubescent
teenage girls, and only a very small number of the images were of prepubescent females. In this
regard, he indicated experiencing some level of sexual arousal to the post-pubescent teenage
girls [research indicates this pattern of sexual arousal is normative for adult males] and did not
experience any sexual arousal to the prepubescent girls adding, “mostly I deleted those
[prepubescent images], but sometimes I’d pass it on.” Mr. Brown also indicated he never spoke
directly to anyone who identified themselves as a minor, and never sought out contact with any
minors, noting all of the individuals he communicated with presented themselves as adults.

Again pressed about why he thinks he crossed the line into viewing and forwarding child
pornographic images he said, “I’m a very low-key personality, I’m not a Type A, I’m a Type C,
and I joined [the police force] way too young, and I saw a lot of stuff, dead bodies, I was seeing
that for nine years.” He then explained the primary reason he asked to be transferred to the
airport flowed from his growing need to extricate himself from involvement in cases that
exposed him to these types of images. Describing his reaction to those experiences at the time he
said, “I shouldn’t have seen that kind of stuff, and it ruined a lot of relationships, because I
couldn’t care about people, even with my wife.” He then described a pattern of change in him,
that came to include a shift from him being an unusually “empathic” person, who genuinely
enjoyed engaging with and helping others, to him becoming closed off from feelings in a way
that left him feeling increasingly alienated, and “hating myself.” Reflecting on this change he
said he now believes his work as a police officer “changed me for the worse, it was a horrible job
for me,” before immediately adding, “But I don’t want to blame anyone else, I became a cop,
and then I became an asshole.”

Asked for his understanding of the connection between this change in him, and the events
associated with this case he then said, “I think it’s connected, by that time I probably didn’t give
a shit, I’m not trying to make an excuse, I know I was not all there,” immediately adding, “that’s
hard to admit, I know I need therapy, and in hindsight I wish I’d picked a different job, it ruined
a lot of relationships with people,” and then, “They tell you that at the start, that it will change
you, and your relationships, and they tell you to prepare for it, but you can’t, that’s why you can
only be with other officers, and I lost all my friends.” Asked if he ever considered pursuing
psychotherapy for the types of difficulties he was now discussing he said, “Finally they’re
realizing officers have PTSD just like in the military, and so there is more counseling, but if you
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go to see a psychologist, and the psychologist tells the Sargent, ‘This guy’s fucked up’ they take
you off active duty, and then you get made fun of, so you don’t tell, you just bottle it up.”

In an effort to place the above summarized events into a broader context, we then reviewed his
earlier life history. Mr. Brown was born in West Covina, and has lived almost his entire life in
the Long Beach area of Los Angeles. He reported a close and loving relationship with both of his
parents, who are now deceased. He has no full siblings. His next closest half sibling, a sister,
Connie Pico, is about 19 years older than him. [Ms. Pico was interviewed in connection with the
current evaluation.] Mr. Brown also has an older half-brother [currently living in Needles,
California], a deceased half-brother [who died from prostate cancer in his sixties], and a
deceased half-sister [who died at the age of 77, around two years ago, from a collection of health
problems].

Mr. Brown characterized his childhood years as, “very very good, I had great parents, I had a
good upbringing, my parents were loving and supportive.” Describing his mother he said, “She
was very loving, and fun.” He said she came from a large Italian family adding, “there was a lot
of cooking and big family parties.” He also described her as “protective,” as he simultaneously
noted, “but there were not a lot of rules.” He described himself as a cooperative and well
behaved child, who consistently avoided conflict, and who got along with most everyone. He
said his mother remained at home until he was around 10, when she resumed work cleaning
houses a few days a week. He said his mother did not suffer from any mental health difficulties,
and though she occasionally drank a glass of wine or beer, had no substance abuse difficulties of
any type. He also described her as, “a very happy Catholic, she attended church, that was
important to her, she got that from her parents, and she stayed in that mold.”

Shifting to his father he described him as, “very happy-go-lucky, he was easy-going, I only saw
him get mad one time.” He said his father was, “a union man,” responsible for “tool and
equipment maintenance,” who worked for the California School Employees Association, and
eventually went on to become a non-paid official in his union. Like his mother, he also described
his father as, “outgoing and social,” noting he got along well with his own family and had many
friends. He said his father was born in Kansas, grew up in Iowa, and came from “a railroad
family.” He said his father rarely talked about his childhood, and it is his understanding his
father moved to California in the 1940s, when he was in his early twenties for “work
opportunities.” Mr. Brown reported no mental health or substance abuse difficulties for his
father. He did report that towards the latter part of his life his father’s health deteriorated, as he
developed high blood pressure, diabetes, and back problems. Then, over a period of about two
months he experienced three separate heart attacks, that led to his death in 1985, when Mr.
Brown was 21.

Mr. Brown reported an “excellent” relationship between his parents indicating, “they loved each
other, they’d kiss and hold hands, you could see they loved each other.” He said his mother
never fully recovered following the death of her husband, and never remarried or dated. At one
point reflecting on the lessons he learned from his parents he said, “They both went through the
depression, and they both have that, and I learned a lot of things from them, and as a kid they put
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me first, and we never had a lot of money, but we had food and clothing and shelter, and they
always found a way to put me before them, like renting a trumpet for lessons even though we
never went on vacations.” Though he reported some regular interaction with his sister Connie
during his growing up years [as already noted all his siblings are half-siblings, though he
referred to each as sister or brother, and I will follow that convention for the remainder of this
report], he overall described feeling like “an only child” during those years. Despite this he said,
“I never felt lonely, there were a lot of kids in the neighborhood, and we all played together,”
quickly adding, “I had a great childhood, I couldn’t have asked for anything better.”

I view as important a recollection described by Mr. Brown at a subsequent point in our
discussions, for a previously omitted memory from the time his mother died. Again noting that
his mother died on “December 6, 2003,” he recalled that in January [11 months earlier] she
began to experience flu like symptoms and was prescribed antibiotics by her doctor. He said no
further follow-up occurred until November of that year, when she was diagnosed with lung
cancer. At that point his mother declined to pursue further treatment, and died about three weeks
later. He then recalled noticing what he now considers to be a very important shift in himself,
when he compares his reaction to his father’s death to his reaction to his mother’s death. He said,
“I feel I still haven’t grieved, I just went back to work, and at the time I wanted to tell her how
good of a mother she was, but I never got to do that, I was just all wrapped up in my own little
world, my own problems, I’d just started at the airport, and I was really stressed, and I’d just
broke up with my fiancé.” Asked by me why he thinks he never told his mother how much he
loved and appreciated her as she was dying he said, “I don’t know, it just didn’t get done, and
that sucks.” Pausing to think a bit longer he then contrasted his reaction to his father’s death to
his mother’s death and said, “back then [referring to his father’s death] I was more sympathetic,
I was only 21, and I was just starting in law enforcement, but growing up, I was closer to my
mother than my father, I was always closer to her, but by the time she died I was more numb,
and that began showing up in all of my relationships.”

Shifting to Mr. Brown’s academic history, he said he attended public school from kindergarten
through his high school graduation in 1983. He reported consistently average performance
throughout these school years, little conflict with teachers or other authority figures, and no
formal disciplinary history. He reported no social difficulties at any point in his schooling,
noting he consistently had good friends maintained over time. He reported an initial interest in
high school to become a firefighter, but changed his mind in his Senior year to become a police
officer.

Unable to enter the Police Academy until turning 21, following his high school graduation he
enrolled in Long Beach City College, but left to enter the Reserve Police Academy after turning
19. Discussing his experiences at that time he said, “I knew a lot about what to expect, but then I
saw it was different when you really do it, it was eye-opening, like being yelled at, like being in
the military, and I started getting more nervous and stressed.” Continuing on despite these
difficulties he said, “But I learned not to let it bother me, and I never considered quitting.”
Finally, in 1994 he was accepted into the Police Academy, and in September 1994 he became a
full-time paid police officer, and continued in this role until his retirement in February 2021.
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Asked to describe how his life began to change as he became a police officer he said, “I became
two different people, as a person I was more mellow, but as a police officer I had to be more
forceful and bossy, your job is to enforce rules and order, and not to be someone’s friend.” He
also discussed some dramatic changes that occurred in the nature of his police work from when
he first began. At first he said, “Guns were not as prevalent, like maybe there was one call per
week with a gun, but then it became every day you’d get calls like that,” leading to a significant
change in the level of stress and anxiety he began to experience in connection with his work.
Noting that the training he received emphasized the importance of treating the people he
encountered with respect and courtesy, he said during the 27 years he served as a full-time police
officer he only received three writeups, all for minor technical violations, with none involving
“any use of force issues,” and none involving any “formal reprimands.”

We also discussed in some detail his experiences over the years as a police officer. Mr. Brown
reported never becoming fully comfortable or confident as a police officer. He differentiated
between a certain type of officer that he referred to as a “Type A” officer, that was more
aggressive and more oriented towards seeking the limelight, indicating these were the officers
who regularly received the most prestigious assignments, and the ones who were treated with the
most deference by their superiors. In contrast, he referred to another group that he labeled “Type
C” officers, including himself in this group. He described this group as more oriented towards
getting the job done day by day, in a more low-key fashion, without efforts to seek the limelight,
and with more concern to avoid unnecessary or provocative actions that might lead to otherwise
avoidable risk. He also made clear that within the force as a whole, Type A officers regularly
looked down on Type C officers in a manner that added to his discomfort and feelings of
insecurity.

In October 2002 he requested placement at the Long Beach Airport stating, “I liked that it was
safe and less stressful.” However, he also described a growing level of disrespect he began to
experience in the way he was treated by the general public at the airport, stemming from his role
as an enforcer of rules and regulations they disliked. He also described how a growing
collection of work related physical disabilities began to further wear away at him. And then, as
already discussed above, as the general level of frustration and anger towards police began to
increase, even before the death of George Floyd, he became increasingly oriented toward plans
for retirement, and during the last few years of his work as a police officer, increasingly
preoccupied with the arrangements he began to develop in pursuit of that goal.

Illustrating his pattern of avoiding any more detailed elaboration for past traumatic experiences
periodically briefly referenced by him, it was not until specifically asked about them that he
slowly began to discuss this aspect of his past work history. He began by explaining, “As a
police officer you see a lot of bad things,” before adding, “and some of that stuff is still with me,
like mainly the dead people, and you feel weird.” Continuing on he said, “I still see those things,
like an elderly lady who jumped off a tall building, and on impact her head hit, and got
disconnected from her body, and back in the day, there was no cleanup service, and the fire
department would hose it into the drainage ditch, and they’d joke about it,” finally stating, “I still
see that picture of her on the ground decapitated.” He recalled another incident where, “There
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was this older lady, and I had to kick the door in, but it took an hour to get permission, and I felt
that if I had gotten in there faster I could have saved her, but she shot herself in the bedroom
with a shotgun.” He then said, “and then there were the murders.” Though he reported exposure
to a much larger number of actual incidents of this type, he said at this time, “There are mainly
five or six that keep coming back, they just come up out of the blue, and it hits you.” He said
immediately after a particular incident he would experience these types of flashbacks “three or
four times a week,” as he then said, “but it becomes less and less over time, and now it’s down to
like once every couple of weeks.”

Asked why he never went to see a therapist to discuss what even he obviously saw as evidence
of a post traumatic reaction he said, “That’s my fault,” adding, “I probably should have gone to
see someone,” and, “The department had a psychologist, but no one went, everyone felt they’d
go to management, and then you’d be taken off patrol, and put at the front desk, and then
everyone would know you’re having problems.”

Discussing the DUI arrest listed on his record, he clarified how this listing is in error explaining,
“My fingerprints were mixed up with someone else’s,” and, “that person is a male black, and
clearly not me, but it was a snafu with the records.”

We then reviewed his past relationship history. He reported involvement in four more serious
dating relationships and a small number of casual dating relationships. He said his first more
serious relationship began when he was 29, with a woman who was “25 or 26.” Noting her
brother was also serving as a reserve police officer, he said they became friends first, for about
two years, before they began dating, and dated for about two additional years. Asked to describe
this woman he said, “She was very nice, kind, loving and caring.” Indicating they consistently
got along well with each other, he said she also had a son who was around six, and at the time he
viewed his presence as a negative, in a manner that led to their eventual breakup. Noting they
kept up after ending their relationship, he said this woman eventually married, and they remain
friends through the current time.

Mr. Brown’s next serious dating relationship began when he was around 35, with a woman
attending graduate school to become a clinical psychologist. He said they got along well, became
engaged to marry, “but then I ended up getting cold feet, I don’t know why.” Interestingly, he
said one of this woman’s brothers was in law enforcement, and though remaining confused about
why he developed “cold feet” at the time went on to say, “I still think she would have been a
great person to live with for the rest of my life.”

His next relationship began when he was 39, soon after his mother passed away. As with
previous partners, he described this woman as “kind, loving and caring,” but also as more social
and outgoing than his previous dating partner. He said they remained together for about 18
months, and at one point lived together. Discussing the reasons for their breakup he said, “I
caught her lying,” indicating he discovered she was actively smoking marijuana after she had
assured him she was not. He said they also remained on friendly terms after breaking up, and he
subsequently learned she married an attorney and moved to Texas.
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Finally, he said his next serious dating relationship was with his current wife, Kristin. They met
at Long Beach Airport, indicating at the time she was working as a TSA agent. He described her
as “very loving and caring, she keeps me in line,” before adding, “but she’s not bossy, she just
calls me on my bullshit.” He also described her as “smart.” He said they dated for about two
years before marrying on February 11, 2012, and described a consistently good relationship
between them through the current time, before again noting that he believes his recent actions
have hurt her badly, and though she remains loving and supportive towards him, he feels an
ongoing need to do better in his relationship with her in order to “make it up to her.”

Mr. Brown said he has never “cheated” on any woman while involved with her. He also
indicated the sexual relationships he has had with each of his serious dating partners, including
with his wife, have been mutually enjoyable and mutually satisfying, and were never an area of
tension or difficulty within the relationship. He did report occasionally resorting to additional
masturbation activities while with each of these women to supplement the sexual contact they
had, though he said he always preferred engaging in sexual activity with his partners rather than
in masturbation.

He said he first began masturbating when he was around 15 or 16 indicating, “I’d think about
naked girls in my head, from movies I saw, like Animal House.” During his late teenage and
early adult years he began masturbating to images in mainstream magazines such as Playboy, but
never subscribed to any of these magazines. He first began using the Internet to view
pornography in around 2000, and as already noted above, said this viewing involved his use of
mainstream free pornographic sites available on the Internet, and never included any viewing of
child pornography, until the events associated with this case [as already summarized above]. He
said he was never a victim of any unwanted sexual contact.

As we were concluding our discussions, I again raised my opinion that above summarized
information indicated a more active need for meaningful mental health treatment for Mr. Brown
at this time. At that point he indicated that following his arrest he did meet with a psychologist
[via video-conference] for 14 sessions, but did not find it particularly helpful, at one point noting
the psychologist would sometimes “doze off.” This final conversation occurred while he was
already in Kentucky, and in response to my statements he said, “I know I need help, and I’m
open to treatment,” before adding, “and I’ve been meeting with a local therapist, I’ve seen him
three times, but he can only see me once a month right now, because he’s so busy, but we’re
trying to meet more regularly.” He said his therapist is aware of his current court case, including
his involvement in viewing and uploading child pornographic images. We then discussed in
some detail my recommendations for the issues I view as central to his treatment [to be
discussed in the final section of this report], that he agreed to include in his ongoing work
moving forward.

Interviews with Other Collateral Sources

In addition to Mr. Brown, I also spoke with his wife, Ms. Kristin Brown; his sister, Connie Pico;
and his partner in the Long Beach Police Department [for the past 18 years], Mr. Jonathan Doma
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for purposes of the current evaluation. For the sake of brevity I will only summarize below
information deemed relevant by me to the current evaluation.

I spoke with Ms. Kristin Brown for just over an hour on December 20, 2021. She said she first
met her future husband in 2001, while working as a TSA agent at the Long Beach Airport. She
described no significant relationship between them during that time indicating, “It was more of a
hi, bye type thing,” before indicating they began dating soon after she left the airport to begin
working for the City of Long Beach, in their parking enforcement division in March 2009, and
married in February 2012. Asked for an overall description of her husband she said, “He’s
wonderful, he does things for you, without you asking,” adding, “He thinks of others before
himself.” She also described him as “talkative,” and as “a homebody, he doesn’t party or drink,
but he loves to talk.” Asked to characterize his strengths she said, “If he starts a project he
finishes it, he doesn’t do anything half-assed, he’s very detailed in his work.” Asked to
characterize his weaknesses she laughed and said, “He talks too much sometimes.” She then
added, “And he goes overboard with worrying, he worries a lot, especially about me.”
Specifically asked, she said she has never seen evidence of difficulties with alcohol or any other
substance abuse, and when asked if she thinks he suffers from any mental health difficulties said,
“No, nothing at all.”

However, when asked if she saw any evidence of him seeming “hurt or frustrated” she
immediately responded, “Yes absolutely,” adding, “he got tired of hearing everyone being anti-
police all the time, that was his career, and then everyone was seeing him as scum, that’s a
problem.” Noting that she also worked in “the field,” she said, “We’d talk about that, we both
were dealing with naughty people, and he’d vent,” and, “He stopped telling people what he did
for a living, so did I, we’d just say we work for the City.” Again asked if this aspect of his life
was taking a toll on him she said, “It was, it was heartbreaking for him, you’re doing everything
to help people, and the people you’re helping are just getting so angry, and they record you, and
they assume the police are always after you, even though you’re the one that was drinking and
driving.” Reflecting the tendency of police officers to view this as part of the way things are she
then said, “I’d say he was stressed, but we were all stressed, and I didn’t see that as a problem,
for us it was just that life’s not perfect.”

Discussing their sexual relationship she began by describing it as “normal” and “comfortable.”
She indicated that at the start of their relationship they engaged in sexual contact on an almost
daily basis, and continued in that fashion for the first few years before “things began to taper off,
I was going through a lot with my daughter, she’s 20 now, but she was hanging out with the
wrong people, and she was getting in trouble, and me and Tony were on the same page, and we
both felt she wasn’t doing well, but we finally worked through that.” Describing the nature of
their sexual relationship over the past few years she said, “It varied, sometimes it would be a few
times a week, and sometimes it was nothing for a week or two,” quickly adding, “If I’m on my
period, it’s leave me alone.” Overall she described the relationship as mutually satisfying, and
described her husband as, “a considerate lover.”
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Asked for her thoughts about her husband’s involvement in the activities associated with his case
she began with the moment when, “I was at work, and these two detectives came to see me.” She
said at first she thought they were joking, and it took her a while to understand they were
serious. After being told by them her husband was being investigated for activities involving
child pornography, she then turned to me and said, “I told them, ‘You got to be kidding me,
that’s not Anthony,’” and then beginning to cry said, “That’s not who he is, no way.” Asked how
she could be so sure of this she said, “I have a daughter, and nothing like that ever came up, and
we were happy together, and we’d just gotten back from a vacation to Hawaii, we had a great
time.” Again pressed on this subject she said, “He’s known my daughter since she was seven or
eight, and he loved her,” before adding that even though her daughter is now upset with him
because of his involvement in this case, she has reassured her he never engaged in any
inappropriate sexual activity toward her at any time. She also said, “We’d go to friends’ birthday
parties, and he never sought out kids, I’ve never seen him seek out kids, ever.”

Specifically asked if she was aware of his use of the Internet for viewing pornography she said
she was explaining, “When we first began dating, I’d see it in the user history, and I asked him
why are you doing this, but it was all regular porn, and I told him you could at least exit out from
it,” noting that after she made this request she saw no further evidence of his involvement in this
activity, and this topic did not come up again until his arrest in this case.

Asked what she thinks her husband needs at this time she said, “Definitely counseling, he needs
to continue with the counseling.” Then, again beginning to cry she said, “and I definitely think
he doesn’t need jail,” adding, “I have a daughter, and I don’t want people out there doing these
things, but I don’t think Tony needs jail, he just needs counseling, he needs to figure out why, he
was never in trouble in his life, he just made a stupid mistake, he’s a good person.”

On December 13, 2021 I spoke for an hour with his sister, Ms. Connie Pico. She began by
explaining that she is about 19 years older than her brother and moved out of her parents’ house
when he was only six months old. She also explained how after moving out she continued to
visit him at the house most every weekend “until he was 21 or 22,” and even then continued to
see him frequently through the current time concluding, “We’ve always been close, and we’re
still close.”

Overall, she described her brother as, “caring, loving and compassionate.” Asked to characterize
his strengths she said nothing in addition to the above noted description comes to mind. When
asked to describe his weaknesses she then said, “Self-confidence, he’s always second-guessing
himself, even when he was a kid.” She does not know why this is the case. She described her
mother, father, and the home environment as her brother was growing up in a manner that was
extremely consistent with the account provided by Mr. Brown as already summarized above.
Noting that she moved in with her mother following the death of Mr. Brown’s father, she then
stressed how he became “especially helpful” to their mother at that time stating, “He’d make
sure that everything was working at the house, he cared for her, he stayed with her the whole
time when she was on hospice, for around seven or eight days.” Specifically asked to describe
what her brother was like socially during his growing up years she said, “All the neighborhood
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kids used to come over and hang out, and Tony was never shy, they all played together, there
was no fighting.” She then added, “and he volunteered with the animal shelter, there were always
a lot of strays at our house, and Tony always had strong feelings for animals, and for people, he
was someone who needed to help, and he’s still like that to this day.”

Discussing her brother’s involvement in dating relationships she said, “He’d date girls for quite a
while, there were no one night stands, that’s not him, and I met several of them, I think four of
them, they were all very nice, very sweet.” Discussing his current wife Kristin she said, “She’s
very sweet and loving to Tony, and she’s always been nice to me.” Overall she described the
relationship between them as, “very loving, I think there was some conflicts with the
stepdaughter, she was eleven when they got married, she didn’t like being scolded by Tony,”
before adding that it is her understanding they eventually worked out these issues, and developed
a better relationship with each other as his wife’s daughter got older.

Asked if she ever saw her brother around young girls or boys she said, “There were nieces and
nephews, and they always got along good [referring to her brother’s relationship with them],”
adding, “He was like an uncle, and they all felt comfortable, they all loved him, they still do.”
Specifically asked, she said to her knowledge none have ever said anything to anyone about
experiencing uncomfortable moments with him for any reason.

Shifting to a discussion of the events associated with the current case she said she only learned
about the case after repeatedly calling her brother shortly after his arrest without receiving any
response, in a manner that left her feeling increasingly concerned. She recalled that at the time
her brother and Kristin had just returned from Hawaii, and she was calling to wish them a happy
anniversary, but her calls were not being returned. Finally she said, “I called, and I said what’s
up, and he [referring to her brother] broke down, and he said he was arrested, and he was crying,
and I could hardly understand him, and I just heard something about child pornography.” She
said she subsequently learned more from information she read in newspapers and said, “I was
stunned, I had no idea where any of that came from, that’s not him.” Asked to elaborate on this
she said, “I’ve seen him around kids, and I can’t fathom him doing anything like that,” adding,
“He was never a touchy-feely person with kids, or anything else like that.”

Asked if she was aware of any other problems her brother was having in his life prior to his
arrest she said she was not. Asked how he felt about being a police officer she said, “He never
talked about that, positive or negative,” adding she always assumed he felt positively about his
work, before again adding that he never talked to her about that part of his life.

Asked if there was anything else she wanted to say before we ended she then said, “I love him,
and I worry for him, and I hope for all the good he’s done in his life [pause], I just wish if this is
true, if there’s a problem that caused this, to let it be corrected, and that for all the good he did in
the police department, that all of that will be taken into consideration.”

Finally I spoke with Mr. Brown’s partner from work, Mr. Jonathan Doma on December 21,
2021, for an hour. Mr. Doma said he first met Mr. Brown in 2003, when both began working
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“the airport detail,” adding, “We were on the same shift, we bonded, I’d say we became close,
almost best friends.”

Describing Mr. Brown over the years he began by saying, “His personality has been very
consistent,” and then, “He’s friendly, caring and concerned for others.” He also described him as
“sensitive, he worries about other people’s well-being, he always wants to lend a hand to people
who need help.” He said this included family members, friends, and at times even members of
the public he met through his work activities. Specifically asked, he reported seeing no evidence
of mental health or substance abuse difficulties.

Once again, as was the case with Mr. Brown’s wife, it was not until specifically asked concrete
questions that Mr. Doma began to provide information indicating significant sources of stress
and distress Mr. Brown has been feeling for many years. For example, asked by me if he felt
hated by members of the public, without pausing he immediately said, “We all feel that, and we
talked about that all the time, how the community has changed, how we’re just trying to do the
right thing, but there’s this lack of appreciation, we both felt the same way.” He then said, “I
think Tony felt beaten up, exhausted,” as he then added, “that he didn’t show it much, but we
talked about it, that the whole world was changing.” Finally, he said, “We’d talk about retiring,
to get away from people, Tony wanted to get a farm, and live a quiet simple life, he’d been
talking about retiring this year or next.”

Asked if he saw any evidence of Mr. Brown changing in how he handled his work over the years
he said, “Both of us did, we didn’t like dealing with people, we tried not to communicate with
people outside the force,” though he also indicated that Mr. Brown consistently got along with
fellow officers and supervisors at work, before reiterating his overall observation that he never
saw any evidence of “anything wrong,” or of Mr. Brown being “unhappy.” He then
spontaneously contrasted the way he felt Mr. Brown was coping with things [that he saw as
normal for police officers, and evidence of there being nothing wrong] with a different officer
who also worked at the airport, who committed suicide in 2014. Referring to that person he said,
“You could see he was feeling the hostility, and we all felt he needed help, and Tony knew him,
we all knew him, he was on our team.” Later on in the interview, Mr. Doma reported feeling
concerned about Mr. Brown following his arrest in this case, worried he might “kill himself,” but
said that more recently, he has become increasingly certain that, “He’s holding up, and I think
he’s coping okay, at least as best as he can, and I don’t think he’ll do anything like that.”

Discussing the relationship between Mr. Brown and his wife Kristin he said he knew Ms. Brown
before she and Mr. Brown began dating, when she was still working as a TSA agent at the
airport. He described her as “quiet,” and as someone who, “likes things the way she likes
things.” Discussing the relationship between them he said, “They loved each other,” before
adding, “Tony always liked to talk things out, and they were always able to work things out.”

Shifting to a discussion of the events associated with the case he said he first learned about it on
the day of Mr. Brown’s arrest. He said he was shocked at that point and then added, “and I’m
still shocked, it makes no sense, no sense.” Asked why he thinks it makes no sense he said,
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“because of his demeanor,” adding that in all the years they spent together he never heard or saw
anything to indicate Mr. Brown was viewing child pornography, or had any sexual interest in
minors or any “sexual perversion.”

Asked what he thinks Mr. Brown needs at this time he said, “I think he needs someone to talk to,
to walk him through all this, all the stress, and I don’t know much about the case, and we don’t
talk about it, and I’m just trying to be a good friend, and just to talk, and we talk about other
things, but not the case.” He then again reiterated his belief that he views Mr. Brown as both a
good friend and a good person, and not as someone who represents a danger to the community in
general, or to children in particular.

Test Results

In an effort to compute Mr. Brown’s risk for future sexual offense recidivism, I computed his
score on the Static 99R (Hanson and Thornton, 1999; Helmus, 2009). The Static 99R is a
carefully developed research instrument that has identified important variables that significantly
correlate with sexual recidivism risk. This scale has been found to have moderate predictive
validity. This scale replaces the Static 99 scale, as newly published research (Helmus, 2009)
has found this scale superior to its older version, based on the more comprehensive adjustment
for age at release relative to the Static 99 scale. The test developers have now recommended the
use of this newer version to replace the older Static 99. Static 99R variables yield a total score
that can be linked to specific estimates of sexual recidivism risk. These estimates were derived
from a large number of studies examining sexual recidivism risk (combined sample N = 8,139)
conducted in Canada, the United States, the United Kingdom, Western Europe and New
Zealand. It is important to note that absolute recidivism risk varies from study to study. One of
the most important factors affecting this variability is the average likelihood of recidivism for
any particular sample. Specifically, groups of individuals selected from samples with lower risk
(overall lower base rates) have lower absolute recidivism risk levels at any given Static 99R
score. In contrast, individuals selected from samples with higher risk levels (overall higher base
rates) have higher absolute recidivism risk levels at any given Static 99R score. Different norms
have now been developed in an effort to account for these differences in base rates for
recidivism. The norms used below were taken from the most recent norms for this instrument,
published by Dr. Phenix, Dr. Helmus, and Dr. Hanson on January 1, 2015.

One set of tables was developed for individuals labeled as “Routine.” This group is comprised
of all screened sex offenders from the combined studies used in the development of the
Static99R. This sample is most appropriate when little else is known about the offender or when
there is no special or unusual degree of pre-screened dangerousness, based on all factors know to
effect recidivism risk. It is most representative of the general population of adjudicated sex
offenders. After reviewing the circumstances in this case, I believe this is the most appropriate
category for Mr. Brown. I will therefore use these norms for purposes of the current clinical
evaluation.
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Mr. Brown obtained a Static 99R score of 0 (-1 for young; 0 for single; 0 for index nonsexual
violence; 0 for prior nonsexual violence; 0 for prior sex offenses; 0 for prior sentencing dates; 1
for any convictions for noncontact sex offenses; 0 for any unrelated victims; 0 for any stranger
victims; and 0 for any male victims). There is a ninety-five percent chance that his actual
recidivism risk level is between 2.2% and 3.5 percent over a five-year period of time. This score
would place him in the lowest risk category for committing a future sexual offense as computed
by the Static-99R.

I also calculated Mr. Brown’s score on the Child Pornography Offender Risk Tool [CPORT], a
relatively new instrument that is not nearly as well researched or validated as the above scored
Static-99R. It is critical to begin with specific statements made by the developers of this
instrument [Seto & Elk (2015), pg. 427] who state, “This tool was not predictive for offenders
only known to have child pornography offenses, which we attribute to the low base rate of
sexual recidivism in this subgroup.” This statement specifically indicates that at the current time,
the CPORT is not predictive for purposes of estimating future risk for offenders whose only
offense involved a child pornography offense [as is the case with Mr. Brown]. Seto and Elk
attribute this lack of predictive ability to the fact that as of the current time, there remains only
one study conducted on this instrument, that consisted of 266 adult male child pornography
offenders followed for a period of five years. They further attributed this lack of predictive
ability to the low likelihood that any individual offender in this group actually re-offended
during that time [i.e. low base rate].

The authors of this instrument also concluded that, “though more work is needed to cross
validate risk factors identified in this research and to examine other risk factor candidates not
included in the current study, we believe the CPORT can be useful in the structured risk
assessment of adult male child pornography offenders as a preferable alternative to unstructured
risk judgments,” and, “we expect that other established sex offender risk measures, such as the
Static-99R, would also perform in a sensible way with child pornography offenders.” (Ibid,
pg.427). In effect, they conclude that at this time results support the use of this instrument as
only one factor to be considered in connection with overall risk assessment efforts, along with
other recidivism risk tools [such as the Static-99R], and other relevant factors. Elk & Seto [2016,
pg. 5] also state, “at this time, CPORT may be useful for ranking offenders according to risk
score (rather than using probabilistic estimates).” By this, they mean at this time, no specific
recidivism risk estimate can be generated for any specific offender, though the score can be used
to assist in making determinations of who the riskiest offenders are within a known group of
child pornography offenders.

Given the current limited level of research based evidence available for this instrument at this
time, I believe the above summarized information about it needs to be kept in mind when
attempting to understand the potential benefits and potential harms that can flow from excessive
and unwarranted emphasis on the results generated by this instrument in isolation. Having said
this, and in keeping with all of the above noted qualifications, Mr. Brown obtained a score of 0
on the CPORT out of a total possible score of 7 [Range 0-7]. This is the lowest possible score
one can obtain on this instrument, and in keeping with the above stated qualifications, would
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indicate that Mr. Brown should be viewed as being in the lowest risk group of individuals who
have been convicted of a child pornography offense in relation to the total population of adult
males who have been convicted of one or more child pornography offenses.

Summary and Conclusions

Above summarized records, interviews and test results provide considerable information about
Mr. Brown’s current and overall psychological functioning. Specifically, there is no evidence to
indicate any pattern of mental health or substance abuse difficulties for him prior to his
becoming a police officer. There is evidence to indicate that over the course of the 36 years he
spent working as a reserve police officer, [nine years] and a full-time police officer [27 years] he
experienced a variety of traumatic experiences, and was also subjected to an additional
collection of work related stressors that began to eat away at his previously higher level of
psychological resilience, leaving him in an increasingly exhausted and psychologically depleted
state. In this state, that developed even before his involvement in any of the events associated
with this case, he was experiencing active symptoms of a posttraumatic stress disorder, as well
as additional symptoms of anxiety, loneliness, and growing alienation. This combination of
mental health difficulties produced growing levels of emotional numbness, and deteriorating
levels of self-esteem.

Of even greater importance for purposes of the current evaluation, current assessment results
strongly indicate an absence of evidence of pedophilic tendencies or of any other pattern of
sexual deviancy in Mr. Brown prior to his involvement in the events associated with this case in
2019, when he was already over 55 years of age.

Focusing in on his mental state in the period of time associated with his offense related behavior,
I believe he was experiencing levels of growing alienation and depression that left him
increasingly unable to maintain healthy interpersonal relationships, especially ones requiring
access to feelings of love and empathy. I view this as a direct consequence of his unrecognized
and untreated active posttraumatic stress disorder. It is likely that additional peer pressures
associated with his work as a police officer also directly contributed to the pressures he
experienced to avoid recognition of these difficulties, or to obtain treatment for them.
Additionally, dramatic social changes unfolding over the course of his career as a police officer
fundamentally shifted the level of stress and pressure he began to experience because of a
dramatic reduction in the level of respect and appreciation that previously flowed to police
officers in that role, coupled with a dramatic increase in the level of hostility and contempt being
expressed directly by members of the general public towards police officers in that role.

I believe there is also significant evidence indicating Mr. Brown was never psychologically well-
suited to become a police officer. He appears to have grown up as a particularly sensitive and
empathic individual, with a high need to help others, but also with more limited abilities to
establish effective boundaries to protect himself from the intense pain and suffering he began to
encounter in an increasingly regular manner. I believe this left him at much higher risk for being
psychologically harmed by the challenges of his particular job and at higher risk for developing a
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posttraumatic stress disorder. It also likely left him feeling more alienated from at least some of
his fellow officers [who he referred to as Type A officers], who possessed better defenses for
managing the particular challenges of being a police officer, in a manner that left him feeling
increasingly inadequate and weak relative to them.

Focusing in on the events associated with this case, there is evidence to indicate Mr. Brown has
always had a somewhat higher than average level of what I would characterize as normal sexual
desire. This contributed to a desire to engage in sexual relations and additional masturbation
activities at higher than average levels. I want to emphasize the absence of evidence that this
heightened sexual desire was in any way attached to any co-occurring sexual deviancy, including
any sexual attraction to underage females [or males]. I do believe it contributed to some
increased pressure to supplement his monogamous sexual relationships with additional episodes
of masturbation that began to utilize Internet-based pornographic materials that rapidly became
easily available to him with the advent of the World Wide Web. I see no evidence to indicate he
was using anything other than mainstream pornographic images for these purposes prior to 2019.

Increasingly debilitated by his above noted mental health difficulties, and by his growing
alienation that began to include growing feelings of inadequacy, and growing levels of
irritability and bottled up anger, I believe he began to develop a growing reliance on Internet-
based pornography to experience a kind of escapist pleasure of the moment, so he could at least
briefly forget about the kinds of thoughts and feelings that were increasingly eating away at him.
I do not have any clear explanation for why this escapist use of masturbation began to include
some growing involvement with child pornographic images, though I want to note two important
things about Mr. Brown’s activities in this case when considered in relation to the hundreds of
child sexual offenders I have evaluated over the years: 1) The materials found in Mr. Brown’s
possession would be considered by me to be on the much milder side when considered in the
context of the kinds of images that are often found in the possession of pedophiles or individuals
with other types of actual sexual perversion and: 2) The child pornographic images that were
found constituted a much smaller percentage of the total pornographic images present, than for a
typical pedophile or individual with some other type of actual sexual perversion.

I am also struck by what I found to be genuine feelings of disgust and shame in Mr. Brown as he
pursued this involvement in a manner that both he and I came to view as evidence of something
self-destructive going on inside of him, that he was unable to stop or control even though he
knew he was behaving in a disgusting and shameful manner. I also view his decision to use the
names of his wife and stepdaughter, and to send some images of his stepdaughter [though
current evidence indicates none of these images were pornographic in nature] as making more
sense when thought of as a self-destructive act that risked his rejection by them in a manner that
would have left him even more isolated than he already was [i.e successfully self-destructive] .

At one point in our discussions, as he began to acknowledge the presence of mental health
difficulties in himself stemming from his work as a police officer, he made reference to fellow
officers encountered by him. He discussed how these officers often developed serious drinking
problems, or other serious life difficulties, that he could now see as a consequence of the harm
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being done to them by the accumulating trauma of their work. He then gave himself a
compliment, stating that at least he had not deteriorated in that manner. I cannot help but think
that the events associated with this case are at least in part a manifestation of the type of self-
destructive behavior that can take so many different forms in the lives of long-term police
officers who must struggle to manage the nearly [or perhaps completely] impossible challenges
of their chosen career.

Given the totality of the evidence summarized above, I do not believe Mr. Brown suffers from
any disorder of sexual deviancy, including pedophilia. The DSM-5 indicates that pedophilia,
over a period of at least six months involves “recurrent, intense sexually arousing fantasies,
sexual urges, or behaviors involving sexual activity with a prepubescent child or children.” The
Manual goes on to state that the individual must have “acted on these sexual urges, or the sexual
urges or fantasies cause marked distress or interpersonal difficulty.” Finally, the Manual requires
that the individual diagnosed must be at least 16 years of age and at least five years older than
the child victim. While I am aware that Mr. Brown engaged in the behavior associated with the
current case for more than six months, I believe that given his age at the time [55 and 56], and
the absence of any previous evidence of pedophilic tendencies, despite long-standing access to
both minors and to child pornography [via the Internet], it is more reasonable to understand his
actions in this case as stemming from something other than sexual deviancy, as already
discussed above. I strongly believe we would be seeing more evidence of such deviancy if it
were actually present in Mr. Brown.

Both the Static-99R and the CPORT indicate an extremely low level of recidivism risk for Mr.
Brown [around 3% based on the Static-99R]. In this regard, it is worth noting that research
evidence indicates that only about five percent of all individuals convicted of being in possession
of child pornographic images ever reoffend again. [These numbers are significantly higher for
individuals who have been convicted of a hands on child sex offense in addition to a possession
of child pornography offense.]

While it is beyond the scope of the current evaluation to assess what punishment Mr. Brown
should receive for the actions associated with his offense related behavior, I believe the above
summarized findings and conclusions represent very significant mitigating factors to be
considered when pursuing efforts to arrive at a just sentence in this case. I am aware of the five-
year mandatory minimum associated with his current charge. I am also aware of the possibility
that but for his being a police officer, the original opportunity he was given to break off any
additional involvement with downloading [or uploading] child pornographic images might well
have served as a sufficient warning to achieve that goal, in a manner that would have precluded
his involvement in this case, but for his being a police officer. Given the distinct possibility that
it was precisely this involvement - and the psychological harm it caused to him - that served as a
major [and perhaps sole] factor in fueling this behavior, any further punishment would in effect
represent an additional punishment for behavior fueled by harm incurred from an original effort
to help others by becoming a police officer.
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While I do not view Mr. Brown as being at high risk for future sexual offenses, and while I do
not view him as having active sexual deviancy, I do believe he is in need of meaningful mental
health treatment, most importantly for his previously unrecognized and undiagnosed
posttraumatic stress disorder, and for the depression and alienation he has come to experience
over the course of his 36 years of work as a police officer. Upon the initiation of treatment, I
believe a copy of this report should be provided to his primary treatment provider to familiarize
them with the findings and conclusions documented in this report. In this regard, I believe Mr.
Brown is currently receptive to participating in treatment, based on a growing recognition in him
for the presence of these difficulties, and for his need to address them directly.

I hope the above information is helpful to you. If you have any further questions, or if I can be
of any further assistance please feel free to call or write.


Respectfully Submitted,




Richard I. Romanoff, Ph.D.
Licensed Psychologist

RIR
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               EXHIBIT B



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